    Case 18-24461-RG           Doc 160      Filed 11/19/20 Entered 11/20/20 17:25:52            Desc Main
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      UNITED STATES BANKRUPTCY COURT
      DISTRICT OF NEW JERSEY
                                                                             Order Filed on November 19, 2020
      Caption in Compliance with D.N.J. LBR 9004-2(c)
                                                                             by Clerk
      SCURA, WIGFIELD, HEYER,                                                U.S. Bankruptcy Court
      STEVENS & CAMMAROTA, LLP                                               District of New Jersey
      1599 Hamburg Turnpike
      Wayne, New Jersey 07470
      Telephone: 973-696-8391
      dstevens@scura.com
      David L. Stevens, Esq.


                                                                Case No. 18-24461-RG
      In re:
                                                                Hon. Rosemary Gambardella
      TOSCA KINCHELOW SCHMIDT,
                                                                Chapter 11

                                                 Debtor.        Hrg Date: November 17, 2020 @ 11:00 a.m.




                  ORDER EXTENDING DATE TO RETAIN REALTOR

               The relief set forth on the following page, numbered two (2), is hereby ordered.




DATED: November 19, 2020
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(Page 2)
Debtors: Tosca Kinchelow Schmidt
Case No.: 18-24461-RG
Caption of Order: Order Extending Date to Retain Realtor
_____________________________________________________________________________________________




       The Court having conducted a hearing on November 17, 2020, at which time the Court

considered the status of compliance with its Order Resolving Creditor Motion for Relief From

the Automatic Stay, dated August 20, 2020 (Doc. Entry 130); and the Court having concluded

that good cause exists for the extension of time for the Debtor to retain a realtor; it is therefore

       ORDERED that the date for which the Debtor to retain a realtor is hereby extended from

October 1, 2020 to November 21, 2020; and it is further

       ORDERED all other requirements of the Order Resolving Creditor Motion for Relief From the

Automatic Stay are unaffected.




                                                 2
